                                         Case 4:19-cv-01440-JSW Document 184 Filed 09/30/22 Page 1 of 1




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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DANIEL VERDUZCO,                                Case No. 19-cv-01440-JSW
                                                      Plaintiff,
                                   8
                                                                                         JUDGMENT
                                                v.
                                   9

                                  10     MICKEY PRICE, et al.,
                                                      Defendants.
                                  11

                                  12         Judgment is entered in Defendants’ favor.
Northern District of California
 United States District Court




                                  13         IT IS SO ORDERED.

                                  14   Dated: September 30, 2022

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                                                                                               JEFFREY S. WHITE
                                  17                                                           United States District Judge
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